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EXHIBIT D

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JOHN DOE, an individual,
Plaintiff,

vs. Case No.: 18-cV-11776
Hc)n. Arthur J. Tarnow
Mag. Elizabeth A. Stafford

UNIVERSITY OF MICI~IIGAN (as to Title

IX violations), BOARD OF REGENTS OF

THE UNIVERSITY OF MICHIGAN, a

constitutional corporate body (as to Title IX &

ELCRA violations), PAMELA HEATLIE,

ROBERT SELLERS, MARTIN

PHILBERT, ERIK WESSEL, LAURA

BLAKE JONES, E. ROYSTER HARPER,

SUZANNE MCFADDEN, and PAUL

ROBINSON, employees ofthe University of

Michigan, sued in his or her personal and

oj'z`ciol copacz'ties, jointly and severally,

 

Defendants.
DEBORAH GORDON LAW MILLER, CANFIELD, PADDOCK
Deborah L. Gordon (P27058) AND STONE, P.L.C.
Elizabeth A. Marzotto Taylor (P82061) Brian M. Schwartz (P69018)
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AFFIDAVIT OF DEBORAH L. GORDON
Based on new information as of June 21, 2018

STATE OF MICHIGAN )
COUNTY OF OAKLAND 358

I, Deborah L. Gordon, being first duly sworn, state as follows:

l. Defendants key position in their Response to Plaintift’ s Motion for
Temporary Restraining Order and Preliminary Injunction [Dkt. #21], is that the
Policy provides due process protections in that the OIE Investigator “conclucts live,
irl-person interviews of the parties and witnesses during which she can assess their
credibility ...” Dkt. #21, at 20.

2. Defendants’ Response notes that on May 24, 2018, the OIE
Investigator issued a “preliminary investigative report” to Claimant and Doe. Dkt.
#21, at ll. I have thoroughly reviewed that report

3. The report contained “non~verbatim” summaries of the private
statements taken by the investigator.

4. The OIE investigator had one meeting With Claimant on March 29,

2018, Where Claimant gave her statement

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5. The preliminary investigative report Was sixteen pages. Based on new
information described below, this was only the first part of the investigation

6. Plaintiff and Clairnant provided “feedback” to the preliminary report
on May 29, 2018 as requested by the investigator.

7. The feedback provided by Plaintiff raised numerous concerns and
questions that needed to be addressed as part of the investigation

8. The OIE investigator’s job was to investigate the new feedback.

9. Af`ter investigating the new feedback, concerns and questions, on June
21, 2018, the investigator issued a second preliminary report. l have thoroughly
reviewed that report.

10. The second preliminary report contains significant new information
from the Claimant. It is thirty pages

ll. The portion of the second preliminary report devoted to Claimant’s
statement added an additional 5,401 words from the first preliminary report, or
67.7% of her total statement (total words were 7,981).

12. But there were no “live interviews” of the Claimant or Plaintiff` as part
of the investigation reflected in the second preliminary report. Rather, per the
Second preliminary report, the OIE investigator obtained all of her new information
via emails or phone calls with the Clairnant. There were no emails or phone calls

to the Plaintiff from the OIE investigator.

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13. The second preliminary report contained statements from Claimant

that raised significant credibility issues.

14. Based on all of the foregoing, there was no “live interview” to assess

the credibility of Claimant by the OIE investigator with regard to the majority of
her statement, as contained in the second preliminary report.

Further, deponent sayeth not.

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Deborah L. Gordon

Subscribed and sworn to before me

this 6th day WMofJuZZM/ 20l8

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NOTARY PUBUC. STATE OF M|
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MY COMM|SS[ON EXPIRES D&¢ % 2019
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